915 F.2d 1572
    55 Fair Empl.Prac.Cas.  144
    Unpublished DispositionNOTICE: Sixth Circuit Rule 24(c) states that citation of unpublished dispositions is disfavored except for establishing res judicata, estoppel, or the law of the case and requires service of copies of cited unpublished dispositions of the Sixth Circuit.D.E. SALISBURY, Plaintiff-Appellant,v.Donnie McWhorter, County Judge Executive of Clinton County,Kentucky, Clinton County Fiscal Court, Defendants-Appellees.
    No. 90-5077.
    United States Court of Appeals, Sixth Circuit.
    Oct. 2, 1990.
    
      Before KEITH and RALPH B. GUY, Jr., Circuit Judges, and ENGEL, Senior Circuit Judge.
    
    ORDER
    
      1
      This cause having come on to be heard upon the record, the briefs and the oral argument of the parties, and upon due consideration thereof,
    
    
      2
      It is ORDERED that the judgment of the district court be, and it hereby is, affirmed upon the opinion of the district court.
    
    